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                              UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

IN RE KATRINA CANAL BREACHES                                CIVIL ACTION NO. 05-4182
CONSOLIDATED LITIGATION
                                                   SECTION “K” (2)
PERTAINST TO: 06-8931 (Stephen E. Campbell and Jennie Campbell)
            and 06-8934 (Stephen E. Campbell and Jennie Campbell)
**************************************************************************

                                       JUDGMENT

       CONSIDERING THE FOREGOING Motion for Entry of Final Judgment;

       IT IS ORDERED that in conjunction with the Court’s prior ruling entered January 29,

2007, and considering this Court’s Orders on file herein,

       IT IS FURTHER ORDERED AND DECREED that the Court’s ruling entered January

29, 2007 is hereby entered as a final judgment pursuant to 28 U.S. C. 1291, or alternatively, Rule

54, F.R.C.P, and Stone Insurance, Inc. is dismissed from this action with prejudice.

       New Orleans, Louisiana this              day of ________________, 2007.



                                             _______________________________
                                             UNITED STATES DISTRICT JUDGE
